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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA
                                WEST PALM BEACH DIVISION

                               CASE NO. 23-80101(s)-CR-CANNON

  UNITED STATES OF AMERICA,

         Plaintiff,

  v.

  DONALD J. TRUMP,
  WALTINE NAUTA, and
  CARLOS DE OLIVEIRA,

        Defendants.
  ________________________________/

                           GOVERNMENT’S PROPOSED SCHEDULE

         Attached to this pleading is the Government’s proposed schedule for going forward,

  culminating in a new trial date of July 8, 2024.

         A feature the Government has built into its schedule is monthly status conferences. These

  will permit the Court to ensure the parties are meeting the deadlines the Court sets.

         The schedule does not yet set a date for filings by the parties in support of their positions

  on the draft jury questionnaire or a date for the Clerk’s Office to mail the questionnaires. The

  Court will be in a better position to assess the timing of the former after reviewing the parties’

  joint filing from February 28. The Court can then set briefing on the questionnaire concurrently

  with one of the other briefing schedules in the Government’s attachment.

                                                Respectfully submitted,

                                                JACK SMITH
                                                Special Counsel


                                         By:    /s/ Jay I. Bratt
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                                     Jay I. Bratt
                                     Counselor to the Special Counsel
                                     Special Bar ID #A5502946
                                     950 Pennsylvania Avenue, N.W.
                                     Washington, D.C. 20530

                                     Julie A. Edelstein
                                     Senior Assistant Special Counsel
                                     Special Bar ID #A5502949

                                     David V. Harbach, II
                                     Assistant Special Counsel
                                     Special Bar ID #A5503068




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                                     CERTIFICATE OF SERVICE

          I, Julie A. Edelstein, certify that on February 29, 2024, I served the foregoing document on

  all parties via electronic mail.

                                                /s/ Julie A. Edelstein
                                                Julie A. Edelstein




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